This cause came on to be heard upon the demurrer of the relator to the answer and supplemental answer of the defendant. On consideration whereof it is ordered and adjudged that said demurrer be, and the same is hereby, sustained. Leave is hereby given to the defendant to answer within thirty days and if no answer is filed within that time it is ordered and adjudged that the writ of mandamus prayed for be allowed.
Decree accordingly.
MARSHALL, C.J., JONES, MATTHIAS, DAY, ALLEN, KINKADE and ROBINSON, JJ., concur.
                           (November 4, 1931.)
ON MOTION.
This cause came on to be heard on the motion of the relator to vacate the order of the court journalized on October 6, 1931, allowing the defendant leave to file an amended answer, and also upon relator's motion to strike such amended answer from the files.
It is the opinion of the court that said motion is well taken and it is ordered and adjudged by the court that said entry of October 6, 1931, be vacated and the amended answer stricken from the files; and it is further ordered and adjudged that a writ of mandamus issue against the respondent as prayed for in the petition of the relator and in accordance with this court's journal entry of June 17, 1931.
Writ allowed.
JONES, DAY, ALLEN and ROBINSON, JJ., concur. *Page 654 